        Case 1:24-cv-11720-JEK           Document 1        Filed 07/03/24      Page 1 of 11




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

 PHYLLIS KING, on behalf of herself and             :   CASE NO.
 others similarly situated,                         :
                                                    :
         Plaintiff,                                 :
                                                    :
 v.                                                 :   COMPLAINT – CLASS ACTION
                                                    :
 WHALECO INC., a Delaware corporation.              :
                                                    :
         Defendant.                                 :
                                                    :
                                                    /

      DECLARATORY AND PERMANENT INJUNCTIVE RELIEF AND DAMAGES
                           REQUESTED

                                 DEMAND FOR A JURY TRIAL

        Plaintiff, PHYLLIS KING (“Plaintiff”), individually and on behalf of all others similarly

situated, brings this action against Defendant, WHALECO INC. (“Defendant”) pursuant to the

private right of action provision in the Telephone Consumer Protection Act (the “TCPA”), 47

U.S.C. § 227(c)(5). On personal knowledge, investigation of counsel, and on information and

belief, Plaintiff alleges as follows:

                                        NATURE OF ACTION

        1.      In April 2024 Defendant sent telemarketing text messages to Plaintiff’s personal

cellular telephone for the purpose of selling its products to Plaintiff. Defendant sent such text

messages despite Plaintiff having registered her telephone number on the national do-not-call

registry two years prior in 2022, and without Plaintiff’s prior express written consent.

        2.      Plaintiff brings this action for injunctive relief and statutory damages arising out of

and relating to Defendant’s conduct in negligently, knowingly, and/or willfully initiating more

than one telemarketing telephone call/text message within a 12-month period to Plaintiff and class
          Case 1:24-cv-11720-JEK           Document 1        Filed 07/03/24      Page 2 of 11




  members on their residential telephone lines which have been registered on the national do-not-

  call registry, without prior express consent in violation of 47 U.S.C. § 227(c) and 47 C.F.R.

  § 64.1200(c)(2).

                                               PARTIES

          3.      Plaintiff is an individual residing in Smyrna, Kent County, Delaware.

          4.      Defendant is a for-profit corporation organized under the laws of Delaware with a

  principal place of business located at 31 Saint James Avenue, Suite 355, Boston, Suffolk County,

  Massachusetts 02116.

                                   JURISDICTION AND VENUE

          5.      This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiff brings this action pursuant to 47 U.S.C. § 227 et seq.

          6.      This Court has general jurisdiction over Defendant because its principal place of

business is in this District.

          7.      This Court has specific jurisdiction over Defendant because Defendant sent the

telemarketing calls/text messages at issue in this action from a location within this District.

          8.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because Defendant resides in this

District and is subject to the Court’s personal jurisdiction with respect to this action.

                                      TCPA BACKGROUND

          9.      In 1991, Congress enacted the TCPA to regulate the explosive growth of the

  telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

  can be an intrusive invasion of privacy [.]” Telephone Consumer Protection Act of 1991, Pub. L.

  No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).




                                                    2
        Case 1:24-cv-11720-JEK           Document 1       Filed 07/03/24      Page 3 of 11




       A.      The National Do-Not-Call Registry

       10.     47 U.S.C. § 227(c) of the TCPA requires the Federal Communications Commission

(“FCC”) to “initiate a rulemaking proceeding concerning the need to protect residential telephone

subscribers’ privacy rights to avoid receiving telephone solicitations to which they object.” 47

U.S.C. § 227(c)(1).

       11.     The national do-not-call registry allows consumers to register their telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. § 64.1200(c)(2).

       12.     A listing on the Registry “must be honored indefinitely, or until the registration is

cancelled by the consumer or the telephone number is removed by the database administrator.” Id.

       13.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the national do-not-call registry and provides a

private right of action against any entity that makes those calls, or “on whose behalf” such calls

are made. 47 U.S.C. § 227(c)(5); 47 C.F.R. § 64.1200(c)(2).

       14.     The FCC has issued rulings clarifying that in order to obtain an individual’s

consent, a clear, unambiguous, and conspicuous written disclosure must be provided by the

individual. 2012 FCC Order, 27 FCC Rcd. at 1839 (“[R]equiring prior written consent will better

protect consumer privacy because such consent requires conspicuous action by the consumer—

providing permission in writing—to authorize autodialed or prerecorded telemarketing calls. . .

.”).

                                  FACTUAL ALLEGATIONS

       15.     Defendant is a “person” as the term is defined by 47 U.S.C. § 153(39).




                                                  3
        Case 1:24-cv-11720-JEK          Document 1       Filed 07/03/24       Page 4 of 11




        16.    Defendant is a for-profit e-commerce company founded in Boston, Massachusetts

in 2022.

        17.    At no point has Plaintiff sought out or solicited information regarding Defendant’s

products or services prior to receiving the telemarketing text messages at issue.

        18.    Plaintiff has never consented in writing, or otherwise, to receive telemarketing calls

or text messages from Defendant. Plaintiff has never provided Defendant with her telephone

number.

        19.    Plaintiff’s cellular telephone number, 267-XXX-5114, is a residential telephone

line.

        20.    Plaintiff registered this telephone number on the national do-not-call registry in

2022.

        21.    Despite this, Plaintiff received four telemarketing text messages from Defendant

on April 9, 2024 and April 10, 2024 from telephone number 52927. See Ex. A.

        22.    The text messages marketed Defendant’s “deals,” such as items on sale for $1.99

or $1, and asked Plaintiff to access links to Defendant’s website.

        23.    Plaintiff alleges direct liability because Defendant was the entity that sent the text

messages to Plaintiff.

        24.    Plaintiff and all members of the class defined below have been harmed by the acts

of Defendant because their privacy has been violated and they were subjected to annoying and

harassing calls that constitute a nuisance. The calls also occupied Plaintiff’s and class members’

telephone lines, used up their time, and prevented them from receiving legitimate communications.




                                                 4
          Case 1:24-cv-11720-JEK         Document 1        Filed 07/03/24       Page 5 of 11




                               CLASS ACTION ALLEGATIONS

          25.   As authorized by Fed. R. Civ. P. 23(b)(2) or (b)(3), Plaintiff bring this action on

behalf of a national class of all other persons or entities similarly situated throughout the United

States.

          26.   Plaintiff proposes the following “National Do-Not-Call Registry Class” definition,

subject to amendment as appropriate:

                National Do-Not-Call Registry Class: All persons in the United
                States whose numbers are listed on the national do-not-call registry,
                and who received two or more telemarketing calls or text messages
                within any 12-month period from Defendant to their residential
                telephone number 31 or more days after the telephone number was
                listed on the national do-not-call registry at any time in the period
                that begins four years before the filing of the complaint in this action
                to the date that class notice is disseminated (the “Class Period”).

          27.   Plaintiff represents, and is a member of, the National Do-Not-Call Registry Class.

Excluded from the proposed class are Defendant and any entities in which Defendant has a

controlling interest, Defendant’s agents and employees, any person who made a transaction with

Defendant in the preceding 18 months before receiving a telemarketing call, any person who has

executed a signed, written agreement between the person and Defendant which states that the

person agrees to be contacted by Defendant and includes the telephone number to which the calls

may be placed, any Judge and/or Magistrate Judge to whom this action is assigned, and any

member of such Judges’ staffs and immediate families.

          28.   Numerosity. The potential members of the proposed class likely number at least in

the hundreds because of the en masse nature of telemarketing calls and text messages. Individual

joinder of these persons is impracticable.

          29.   Existence and predominance of common questions of law and fact. Plaintiff and

all members of the proposed class have been harmed by the acts of Defendant, including, but not


                                                   5
        Case 1:24-cv-11720-JEK           Document 1        Filed 07/03/24     Page 6 of 11




limited to, multiple involuntary telephone and electrical charges, the invasion of their privacy,

aggravation, annoyance, waste of time, the intrusion on their telephone that occupied it from

receiving legitimate communications, and violations of their statutory rights.

       30.     The disposition of the claims in a class action will provide substantial benefit to the

parties and the Court in avoiding a multiplicity of identical suits.

       31.     The proposed class , as defined above, is identifiable through telephone records and

telephone number databases.

       32.     There are well defined and nearly identical questions of law and fact common to

Plaintiff and members of the proposed class. The questions of law and fact involving the class

claims predominate over questions which may affect individual members of the proposed class.

These common questions of law and fact include, but are not limited to, the following:

               a.      whether Defendant systematically made multiple telephone calls and text

                       messages to members of the proposed class;

               b.      whether Defendant made calls and text messages to Plaintiff and members

                       of the proposed class without first obtaining prior express written consent

                       to make the calls/texts; and

               c.      whether members of the proposed class are entitled to treble damages and/or

                       punitive damages based on the willfulness of Defendant’s conduct.

       33.     Typicality. Plaintiff’s claims are typical of the claims of the proposed class

members because they arise out of the same common course of conduct by Defendant and are

based on the same legal and remedial theories. Specifically, the proposed class members are

persons who received telemarketing calls and text messages on their telephones without their prior

express written consent. Plaintiff is a member of the proposed class and will fairly and adequately



                                                  6
        Case 1:24-cv-11720-JEK           Document 1        Filed 07/03/24      Page 7 of 11




represent and protect the interests of the proposed class as he has no interests that conflict with any

of the proposed class members.

       34.     Adequacy of Representation. Plaintiff is an adequate representative of the

proposed class because her interests do not conflict with the interests of the proposed class, she

will fairly and adequately protect the interests of the proposed class, and she is represented by

counsel skilled and experienced in class actions, including TCPA class actions.

       35.     Superiority. Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method for fair and

efficient adjudication of the controversy. The only individual question concerns the identification

of class members, which will be ascertainable from records maintained by Defendant.

       36.     A class action is the superior method for the fair and efficient adjudication of this

controversy. Class-wide relief is essential to compel Defendant to comply with the TCPA. The

interests of individual members of the proposed class in individually controlling the prosecution

of separate claims against Defendant are small because the damages in an individual action for

violation of the TCPA are small. Management of these claims is likely to present significantly

more difficulties than are presented in many class claims. Class treatment is superior to multiple

individual suits or piecemeal litigation because it conserves judicial resources, promotes

consistency and efficiency of adjudication, provides a forum for small claimants, and deters illegal

activities. There will be no significant difficulty in the management of this case as a class action.

       37.     Defendant acted on grounds generally applicable to the proposed class, thereby

making final injunctive relief and corresponding declaratory relief with respect to the proposed

class appropriate on a class-wide basis. Moreover, on information and belief, Plaintiff alleges




                                                  7
        Case 1:24-cv-11720-JEK           Document 1       Filed 07/03/24   Page 8 of 11




Defendant’s telephone solicitation calls that are complained of herein are substantially likely to

continue in the future if an injunction is not entered.

                                FIRST CAUSE OF ACTION
                            Telephone Consumer Protection Act
                 Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
             (On Behalf of Plaintiff and the National Do-Not-Call Registry Class)

       38.     Plaintiff repeats her prior allegations of this Complaint from paragraphs 1-37 and

incorporates them by reference herein.

       39.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the TCPA, by making telemarketing calls and text messages, except for emergency

purposes, to Plaintiff and members of the National Do-Not-Call Registry Class despite their

numbers being on the national do-not-call registry in violation of 47 U.S.C. § 227(c)(5) and 47

C.F.R. § 64.1200(c)(2).

       40.     Defendant’s violations were willful or knowing.

       41.     As a result of Defendant’s violations, Plaintiff and members of the National Do-

Not-Call Registry Class are entitled to treble damages of up to $1,500 for each call and text

message made in violation of the TCPA pursuant to 47 U.S.C. § 227(c)(5).

       42.     Plaintiff and the members of the National Do-Not-Call Registry Class are also

entitled to and do seek injunctive relief prohibiting Defendant from making telemarketing calls

and text messages to telephone numbers registered on the national do-not-call registry, except for

emergency purposes, in the future pursuant to 47 U.S.C. § 227(c)(5)(A).

       43.     Plaintiff and members of the proposed National Do-Not-Call Registry Class are

also entitled to an award of attorneys’ fees and costs.




                                                  8
        Case 1:24-cv-11720-JEK           Document 1       Filed 07/03/24   Page 9 of 11




                               SECOND CAUSE OF ACTION
                            Telephone Consumer Protection Act
                 Violations of 47 U.S.C. § 227(c)(5) & 47 C.F.R. § 64.1200(c)
             (On Behalf of Plaintiff and the National Do-Not-Call Registry Class)

       44.     Plaintiff repeats her prior allegations of this Complaint from paragraphs 1-37 and

incorporates them by reference herein.

       45.     The foregoing acts and omissions of Defendant constitute numerous and multiple

violations of the TCPA, by making telemarketing calls and text messages, except for emergency

purposes, to Plaintiff and members of the National Do-Not-Call Registry Class despite their

numbers being on the national do-not-call registry in violation of 47 U.S.C. § 227(c)(5) and 47

C.F.R. § 64.1200(c)(2).

       46.     As a result of Defendant’s violations, Plaintiff and members of the National Do-

Not-Call Registry Class are entitled to an award of $500 in statutory damages for each call and

text message made in violation of the TCPA pursuant to 47 U.S.C. § 227(c)(5).

       47.     Plaintiff and the members of the National Do-Not-Call Registry Class are also

entitled to and do seek injunctive relief prohibiting Defendant from making telemarketing calls

and text messages to telephone numbers registered on the national do-not-call registry, except for

emergency purposes, in the future pursuant to 47 U.S.C. § 227(c)(5)(A).

       48.     Plaintiff and members of the proposed National Do-Not-Call Registry Class are

also entitled to an award of attorneys’ fees and costs.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of the proposed class, prays for the

following relief:

       A.      Certification of the proposed class;

       B.      Appointment of Plaintiff as representative of the class;

                                                  9
       Case 1:24-cv-11720-JEK           Document 1        Filed 07/03/24   Page 10 of 11




       C.      Appointment of the undersigned counsel as counsel for the class;

       D.      A declaration that Defendant’s actions complained of herein violated the TCPA;

       E.      An order enjoining Defendant from making telemarketing calls and text messages

to numbers on the national do-not-call registry, absent an emergency circumstance;

       F.      An award to Plaintiff and the Classes of damages, as allowed by law;

       G.      An award of attorneys fees, expenses, and costs; and

       H.      Orders granting such other and further relief as the Court deems necessary, just,

and proper.

                                         JURY DEMAND

       Plaintiff requests a jury trial on all issues so triable.

Dated: July 3, 2024                            Respectfully submitted,

                                               /s/ Joel D. Smith
                                               Joel D. Smith (SBN 244902)
                                               SMITH KRIVOSHEY, PC
                                               867 Boylston Street 5th Floor #1520
                                               Boston, MA 02116
                                               Telephone: 617-377-4704
                                               Facsimile: (888) 410-0415
                                               E-Mail: joel@skclassactions.com

                                               Yeremey O. Krivoshey (SBN 295032)
                                               (pro hac vice motion forthcoming)
                                               SMITH KRIVOSHEY, PC
                                               166 Geary Str STE 1500-1507
                                               San Francisco, CA 94108
                                               Telephone: 415-839-7077
                                               Facsimile: (888) 410-0415
                                               E-Mail: yeremey@skclassactions.com




                                                 10
Case 1:24-cv-11720-JEK   Document 1   Filed 07/03/24    Page 11 of 11




                             Aleksandr “Sasha” Litvinov (SBN 95598)
                             (pro hac vice motion forthcoming)
                             SMITH KRIVOSHEY, PC
                             867 Boylston Street 5th Floor #1520
                             Boston, MA 02116
                             Telephone: 617-377-7404
                             Facsimile: (888) 410-0415
                             E-Mail: sasha@skclassactions.com

                             Attorneys for Plaintiff
                             and the Proposed Classes




                               11
